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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                 MIAMI DIVISION

                              CASE NO. 19-20141-CR-KING-002

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

 VICTOR ROJAS (J) #18114-104

        Defendant.
                                 /

                     ORDER RESETTING SENTENCING HEARING

        THIS MATTER comes before the Court sua sponte. The Sentencing Hearing that was

 cancelled due to the epidemic COVID- 19 is hereby reset. Therefore , it is hereby

        ORDERED, ADJUDGED and DECREED that the Sealed Sentencing Hearing is

 reset for Monday,      August 17, 2020 at 10:00 a.m. at the James Lawrence King

 via Zoom Gov Meeting (Zoom Gov Meeting information will be sent by separate order)..

        DONE AND ORDERED in chambers at the James Lawrence King Federal Justice

 Building and United States Courthouse, Miami, Florida, this 10 th day of June, 2020.



                                                     JAMES LAWRENCE KING
                                                     UNITED STATES DISTRICT JUDGE
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 cc:   Timothy J. Abraham, AUSA
       Ana M. Davide, Esq.
       Pretrial Services
       U.S. Marshal
       Court Interpreter (Spanish)
       U.S. Probation Officer, Ana Brzica


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